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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                               BRIDGEPORT DIVISION

                                                        :
 In re:                                                 :   Chapter 11
                                                        :
 HO WAN KWOK, et al.,                                   :   Case No. 22-50073 (JAM)
                                                        :
                           Debtors.                     :   (Jointly Administered)
                                                        :
                                                        :
 LUC A. DESPINS, CHAPTER 11 TRUSTEE FOR                 :   Adv. P. No. 23-05013 (JAM)
 THE ESTATE OF HO WAN KWOK,                             :
                                                        :
                               Plaintiff,               :
                                                        :   August 28, 2023
           v.                                           :
                                                        :
 HCHK TECHNOLOGIES, INC., HCHK                          :
 PROPERTY MANAGEMENT, INC.,                             :
 LEXINGTON PROPERTY AND STAFFING,                       :
 INC., HOLY CITY HONG KONG VENTURES,                    :
 LTD., ANTHONY DIBATTISTA, YVETTE                       :
 WANG, and BRIAN W. HOFMEISTER,                         :
 ASSIGNEE FOR THE BENEFIT OF THE                        :
 CREDITORS,                                             :
                                                        :
                               Defendants.              :
                                                        :

                                 NOTICE OF WITHDRAWAL

          PLEASE TAKE NOTICE that, Japan Himalaya League, Inc., by its attorneys Pastore LLC,

solely on its own behalf, hereby withdraws from the Motion to Intervene in Adversary Proceeding

(ECF No. 60) filed by Proposed Intervenors Shih Hsin Yu, 1332156 B.C. Ltd, GWGOPNZ

Limited and Japan Himalaya League, Inc. and from The HCHK Creditors’ Notice of Appeal (Dkt.

No. 80). This withdrawal shall have no effect on the other Proposed Intervenors’ litigation of the

Motion to Intervene or the Appeal.




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                                           JAPAN HIMALAYA LEAGUE, INC.

                                           By: /s/Joseph M. Pastore III
                                               Joseph M. Pastore III (ct11431)
                                               Melissa Rose McClammy (ct31199)
                                               Paul Fenaroli (ct31403)
                                               Pastore LLC
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